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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS

MATT AUFFENBERG & JAMES                      )
AUFFENBERG JR.,                              )
                                             )
       Plaintiﬀ,                             )
                                             )
vs.                                          )   NO.: 3:23-cv-1887-GCS
                                             )
ADDMI, INC.,                                 )
                                             )
       Defendant.                            )


      RESPONSE IN OPPOSITION TO MOTION FOR PROTECTIVE ORDER

       COME NOW Plaintiffs, by and through their attorney Jarrod P. Beasley of Kuehn,

Beasley & Young, P.C., and for their Response in Opposition to Motion for Protective

Order states as follows:

       Defendant has ﬁled a Motion for Protective Order arguing the deposition of

Defendant’s CEO is unnecessary.

       “Under Rule 26(c), a court may grant a protective order only upon a showing of

good cause by the moving party. The movant must articulate ‘a particular and speciﬁc

demonstration of fact, as distinguished from stereotyped and conclusory statements.’”

Pochat v. State Farm Mutual Auto. Ins. Co., 2008 WL 5192427, at *3 (D.S.D. Dec. 11, 2008)

(internal citation omitted) (quoting Gen. Dynamics Corp. v. Selb Mfg. Co., 481 F.2d 1204,

1212 (8th Cir. 1973)). “Such determination must also include a consideration of the
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relative hardship to the non-moving party should the protective order be granted.” Gen.

Dynamics Corp., 481 F.2d at 1212 (citation omitted).

       Defendant has conveyed an oﬀer of judgment. Plaintiﬀ cannot accept the oﬀer

until they explore the claim fully. The reason for this need to explore the claim is the

apparent inability of Defendant to pay the claim. So, essentially Defendant is oﬀering a

piece of paper with no inherent value and certainly no value approaching the millions

of dollars owed to Plaintiﬀs. Moreover, Defendant has produced incomplete bank

records and refuses to provide credit card information in response to discovery

requests. Because of this, Plaintiﬀ is entitled to explore the extent of the damages,

where the money went and who authorized the expenditures. A defendant in a civil

proceeding can hardly be surprised, annoyed, embarrassed, oppressed or unduly

burdened when asked to sit for a deposition.

       Additionally, Plaintiﬀ’s counsel has received documents from defendant and via

subpoena that appear to demonstrate fraud and comingling of funds. Plaintiﬀ’s counsel

has conveyed to defense counsel on a number of occasions that it might be necessary to

add Andy Lim to this litigation individually due to this apparent fraud. Rather than

simply move to amend the Complaint and add a party based on this information,

Plaintiﬀ is entitled to take the deposition to determine if a good faith basis exists for

such an amendment.
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      WHEREFORE, Plaintiﬀs respectfully request that the Motion for Protective Order

be denied.




                                          Respectfully Submitted,


                                          /s/Jarrod P. Beasley
                                          Jarrod P. Beasley #6274536
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                             CERTIFICATE OF SERVICE

     I hereby certify that on June 24, 2024 I electronically ﬁled the Response in
Opposition to Motion for Protective Order with the Clerk of the Court using the
CM/ECF system which will send notiﬁcation of such ﬁling to all counsel of record.

                                                     /s/Erin Kelley
                                                     Erin Kelley
                                                     Kuehn, Beasley & Young, P.C.
